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                          Attorneys for Plaintiffs ZETTA JET PTE.
                      6   LTD., and ZETTA JET USA, INC.
                      7
                      8                      UNITED STATES DISTRICT COURT
                      9                     CENTRAL DISTRICT OF CALIFORNIA
                    10
                    11    JAMES N.H. SEAGRIM, STEPHEN                 CASE NO. 2:17-CV-6648 (JAK)
                          MATTHEW WALTER, ZETTA JET
                    12    PTE. LTD., and ZETTA JET USA, INC.,         The Honorable John A. Kronstadt
                    13                     Plaintiffs,
                                                                     DECLARATION OF JOEL M.
                                     vs.                             ATHEY IN SUPPORT OF
                    14
                          GEOFFERY OWEN CASSIDY,                     PLAINTIFFS’ MOTION UNDER
                    15    MIRANDA JUNE TANG (a/k/a JUNE              RULE 37 FOR AN ORDER:
                          TANG KIM CHOO), and ASIA
                    16    AVIATION HOLDINGS PTE. LTD.,               (1) DEEMING ALL DISCOVERY
                                                                     PROPOUNDED ON DEFENDANT
                    17                     Defendants.               GEOFFERY OWEN CASSIDY BE
                    18                                               ADMITTED AGAINST HIM; (2)
                                                                     STRIKING DEFENDANT’S
                    19                                               ANSWER; (3) DIRECTING THE
                    20                                               CLERK TO ENTER A DEFAULT
                                                                     JUDGMENT AGAINST
                    21                                               DEFENDANT; AND (4)
                    22                                               DIRECTING PLAINTIFFS TO
                                                                     FILE A MOTION FOR ENTRY OF
                    23                                               DEFAULT JUDGMENT
                    24                                               PURSUANT TO RULE 55
                    25                                               Date: November 4, 2019
                    26                                               Time: 8:30 A.M.
                                                                     Courtroom: 10B
                    27
                    28
DLA P IPER LLP (US)
    LOS A NGEL ES
                                               ATHEY DECL. ISO PLAINTIFFS’ MOTION FOR SANCTIONS UNDER RULE 37
                                                                                      CASE NO. 2:17-CV-6648 (JAK)
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                      1                        DECLARATION OF JOEL M. ATHEY
                      2   I, Joel M. Athey, declare as follows:
                      3         1.     I am an attorney authorized to practice before the courts of the State of
                      4   California, and am admitted to practice before this Court. I am a partner at the law
                      5   firm DLA Piper LLP (US), counsel for non-party Jonathan D. King, solely in his
                      6   capacity as the chapter 7 trustee (the “Trustee”) in the jointly administered
                      7   bankruptcy cases of Zetta Jet USA, Inc. (“Zetta USA”) and Zetta Jet PTE, Ltd.
                      8   (“Zetta PTE”, and together with Zetta USA, “Zetta Entities” or “Zetta”), currently
                      9   pending before the United States Bankruptcy Court for the Central District of
                    10    California – Los Angeles Division. Also in this capacity, I represent the Zetta
                    11    Entities in the above-titled matter pending before this Court.
                    12          2.     I submit this declaration in support of Plaintiffs’ Motion Under Federal
                    13    Rule of Civil Procedure 37 for an Order: (1) Deeming All Discovery Propounded
                    14    on Defendant Geoffery Owen Cassidy Be Admitted Against Him; (2) Striking
                    15    Defendant’s Answer; (3) Directing the Clerk to Enter a Default Judgment Against
                    16    Defendant; and (4) Directing Plaintiffs to File a Motion for Entry of Default
                    17    Judgment Pursuant to Rule 55. I have personal knowledge of the facts stated herein
                    18    and, if called as a witness, I could and would competently testify thereto.
                    19          3.     In early-December 2018, the parties exchanged Rule 26(a)(1) reports,
                    20    but Cassidy’s prior counsel did not respond to our requests to exchange documents
                    21    pursuant to Rule 26(a)(1). To date, Plaintiffs have still not received Cassidy’s initial
                    22    disclosure documents, or any other documents from Cassidy.
                    23          4.     Pursuant to the Court’s February 20, 2019 order, on behalf of Plaintiffs,
                    24    I sent correspondence to Cassidy by email on February 20, 2019, and on February
                    25    22, 2019. Attached hereto as Exhibits A and B are true and correct copies of the
                    26    February 20 and February 22 emails, respectively.
                    27          5.     Pursuant to this Court’s February 20, 2019 order, in the February 20
                    28    and 22, 2019 correspondence, I informed Cassidy of the requirements under the
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                                                  ATHEY DECL. ISO PLAINTIFFS’ MOTION FOR SANCTIONS UNDER RULE 37
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                      1   order that the parties meet and confer about dates for a mediation, a settlement
                      2   report, and a post-mediation status conference. I also sought to meet and confer
                      3   about stipulating to modify various pre-trial dates set in the Court’s Minute Order
                      4   re: scheduling.
                      5         6.     On February 25, 2019, Defendant sent me an email, in which he
                      6   indicated that: (i) a bankruptcy proceeding was initiated against him by his creditors
                      7   in Singapore; (ii) he did not know “what [his] position is or what [he is] able to do
                      8   for the California suit, until [he has] a chance to speak to the Official Assignee of
                      9   [his] estate”; and (iii) offered to meet in Singapore to discuss options and how to
                    10    mediate the present lawsuit. Attached hereto as Exhibit C is a true and correct copy
                    11    of Cassidy’s February 25, 2019 email.
                    12          7.     On March 1, 2019, I responded to Cassidy and (i) requested that he
                    13    inform me about his intentions to proceed with this litigation after speaking with the
                    14    Official Assignee of his estate; (ii) suggested an in-person meeting in Singapore in
                    15    mid-April 2019; and (iii) proposed informing the Court that the parties stipulate to
                    16    modify the current pre-trial dates according to a suggested schedule. Attached
                    17    hereto as Exhibit D is a true and correct copy of my March 1, 2019 email.
                    18          8.     On March 5, 2019, Defendant responded by email indicating that he
                    19    agreed to: (i) meet with Jonathan King as the Chapter 7 Trustee for Plaintiffs and
                    20    John Lyons, counsel for the Trustee, on April 18, 2019, in Singapore to discuss the
                    21    above-captioned litigation; and (ii) modify the discovery and other pre-trial dates as
                    22    proposed by Plaintiff. Attached hereto as Exhibit E is a true and correct copy of
                    23    Defendant’s March 5, 2019 email.
                    24          9.     On April 18, 2019, the Trustee and my partner John Lyons as counsel
                    25    for the Trustee, met with Defendant in Singapore to discuss the litigation and a
                    26    potential settlement. During this meeting, Defendant initially indicated that he
                    27    would provide cooperation and documents as part of an overall settlement
                    28    framework that the parties discussed.
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    LOS A NGEL ES
                                                  ATHEY DECL. ISO PLAINTIFFS’ MOTION FOR SANCTIONS UNDER RULE 37
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                      1         10.    On May 30, 2019, Plaintiffs’ counsel served written discovery on
                      2   Defendant Geoffery Owen Cassidy, including: (i) Interrogatories (Set One) pursuant
                      3   to Rule 33; (ii) Requests for Production of Documents (Set One) pursuant to Rule
                      4   34, and (iii) Requests for Admission (Set One) pursuant to Rule 36.
                      5         11.    Defendant has not responded to the Interrogatories (Set One) or
                      6   Requests for Admission (Set One) by the date required pursuant to Rules 33 and 36.
                      7         12.    On May 30, 2019, Defendant sent an email promising to provide
                      8   documents and requested guidance on how to do so. Attached hereto as Exhibit F is
                      9   a true and correct copy of Defendant’s May 30, 2019 email.
                    10          13.    On June 21, 2019, John Lyons and I participated in a phone call with
                    11    Defendant. During the call, Defendant assured us that he was willing to provide
                    12    documents, if only he knew where and how to do so. I explained that Defendant
                    13    could mail or email the documents in whatever format was available, or simply drop
                    14    them off at DLA Piper’s Singapore office.
                    15          14.    On June 24, 2019, I sent an email to Defendant, as a follow up to our
                    16    June 21, 2019 call, and explained with precision how he could deliver documents.
                    17    Attached hereto as Exhibit G is a true and correct copy of this June 24, 2019 email
                    18    correspondence.
                    19          15.    On July 1, 2019, I sent a follow-up email to Defendant regarding his
                    20    promise to provide documents, which had not been delivered. I also reminded
                    21    Defendant about the July 1, 2019 report ordered by the Court as to the status of
                    22    settlement negotiations and offered to include a statement on his behalf. I also
                    23    informed Defendant that his responses to Plaintiffs’ written discovery were past due,
                    24    and that since he had not responded, Plaintiffs would either move to compel
                    25    responses with the Court or seek other appropriate relief. Defendant responded that
                    26    as a “Bankrupt in Singapore,” he believed a “worldwide stay” applied and therefore
                    27    he could not really do anything. With respect to the legal claims against him,
                    28    Defendant stated that he is “a bankrupt so its [sic] really not my problem anymore.”
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    LOS A NGEL ES
                                                 ATHEY DECL. ISO PLAINTIFFS’ MOTION FOR SANCTIONS UNDER RULE 37
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                      1   Attached hereto as Exhibit H is a true and correct copy of this July 1, 2019 email
                      2   correspondence.
                      3         16.    As of the date of this declaration, Defendant still has not produced a
                      4   single document or provided any responses to any written discovery.
                      5         17.    Pursuant to the Court’s July 14, 2019 order, and to Local Rule 7-3, on
                      6   July 27, 2019, I emailed Defendant Cassidy that, pursuant to the July 14, 2019
                      7   order, Plaintiffs would be filing a motion under Rule 37 seeking an order: (i) that all
                      8   discovery propounded on Cassidy be deemed admitted against him; (ii) striking
                      9   Cassidy’s Answer; and (iii) entering a default judgment against Cassidy in an
                    10    amount to be proven in a subsequent filing. I also requested a meet and confer for
                    11    July 29, 2019. Attached hereto as Exhibit I is a true and correct copy of this July 27,
                    12    2019 email correspondence.
                    13          18.    On July 28, 2019, Defendant responded that his “position remains the
                    14    same” and that while he remained “fully ready to share the documents with
                    15    [Plaintiffs’ counsel]” that due to the Singapore court order, he would not provide
                    16    anything. Defendant reiterated that as an “unemployed bankrupt in Singapore” that
                    17    there was not much he could do. Attached hereto as Exhibit J is a true and correct
                    18    copy of this July 28, 2019 email correspondence.
                    19          19.    Defendant’s ongoing failure to produce documents or otherwise
                    20    provide any responses to Plaintiffs’ written discovery has resulted in Plaintiffs
                    21    incurring additional fees and costs in time and futile efforts to communicate, follow-
                    22    up, and confer with Defendant regarding all of the deficiencies. Plaintiffs’ counsel
                    23    has already flown to Singapore to attempt to reach a settlement with Defendant to no
                    24    avail. Plaintiffs’ counsel has also participated in numerous meet and confer efforts
                    25    by phone and by email and has accommodated Defendant as much as possible.
                    26          I declare under penalty of perjury under the laws of the United States of
                    27    America that the foregoing is true and correct.
                    28          Executed August 5, 2019, at Los Angeles, California.
DLA P IPER LLP (US)                                                  5
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                                                  ATHEY DECL. ISO PLAINTIFFS’ MOTION FOR SANCTIONS UNDER RULE 37
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                      2                                        /s/ Joel M. Athey
                          EAST/168282988
                                                                  Joel M. Athey
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